 8:07-cr-00229-LSC-FG3        Doc # 37     Filed: 12/11/07      Page 1 of 2 - Page ID # 134




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:07CR229
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
JEFFREY A. STENGER,                           )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) and the

government’s objections thereto (Filing No. 33). See "Order on Sentencing Schedule," ¶

6. The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       The plea agreement recommends the following: the Defendant did not possess a

dangerous weapon. (Filing No. 24, ¶ 7(d).) The PSR assigns a 2-level enhancement for

possession of a firearm. (PSR, ¶ 24.) The Court’s tentative findings are that, absent

unusual circumstances, the plea agreement should be upheld.

       The Court notes the government asserts that, absent the gun enhancement, the

Defendant is eligible for the protection of the safety valve.

       IT IS ORDERED:

       1.     The Court’s tentative findings are that the government‘s objections (Filing No.

33) to the PSR are granted;

       2.     The parties are notified that my tentative findings are that the PSR is correct

in all other respects;
 8:07-cr-00229-LSC-FG3        Doc # 37     Filed: 12/11/07    Page 2 of 2 - Page ID # 135




       3.     If any party wishes to challenge these tentative findings, the party shall file,

as soon as possible but in any event before sentencing, and serve upon opposing counsel

and the court a motion challenging these tentative findings, supported by (a) such

evidentiary materials as are required (giving due regard to the requirements of the local

rules of practice respecting the submission of evidentiary materials), (b) a brief as to the

law, and (c) if an evidentiary hearing is requested, a statement describing why an

evidentiary hearing is necessary and an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 11th day of December, 2007.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge




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